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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

YPSILANTI TOWNSHIP CITIZENS FOR
RESPONSIBLE GOVERNMENT, ballot
question committee,
                                                   Case No.: 22-cv-10614
         Plaintiff,                                Hon. Sean F. Cox
vs.

JOCELYN BENSON, in her official capacity
as Secretary of State of Michigan,
CHARTER TOWNSHIP OF YPSILANTI,
and HEATHER JARRELL ROE, in her
official capacity as Ypsilanti Township
Clerk,

         Defendants.


            STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

         Plaintiff Ypsilanti Township Citizens for Responsible Government and Co-

Defendants Charter Township of Ypsilanti, Clerk Heather Jarrell Roe, and Secretary

of State Jocelyn Benson, having stipulated to the entry of this Order of Dismissal,

and the Court otherwise fully advised on the premises;

         IT IS HEREBY ORDERED that this case is dismissed with prejudice and

without costs or fees to any party.

Dated: June 16, 2022                         s/Sean F. Cox
                                             Sean F. Cox
                                             U. S. District Judge




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 Stipulated and Agreed to by:

 KERR, RUSSELL AND WEBER, PLC            MICHIGAN DEPARTMENT OF
                                         ATTORNEY GENERAL

 /s/ James E. Tamm                       /s/ Erik A. Grill (w/ permission)
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 Charter Township of Ypsilanti           Benson
 and Heather Jarrell Roe


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 /s/ Hannah Stocker (w/ permission)
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 Ypsilanti Township Citizens for
 Responsible Government

 Dated: June 6, 2022




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